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 7                          UNITED STATES DISTRICT COURT
                      WESTERN DIVISION OF WASHINGTON AT SEATTLE
 8

 9   CHARLOTTE WINELAND, et al.,                             No. C19-0793 RSL

10                       Plaintiffs,                         STIPULATION MOTION AND
             v.                                              ORDER TO EXTEND DISCOVERY
11                                                           COMPLETION AND DISPOSITIVE
     ALFA LAVAL, INC., et al.                                MOTION DEADLINES
12
                          Defendants.
13

14                                          STIPULATION

15          Plaintiffs and Defendant, Auburn Technology, Inc. (“Auburn”), wish to conduct the

16   Fed. R. Civ. P. 30(b)(6) deposition of Auburn so that it is completed by October 15, 2020 and

17   to postpone to October 30, 2020 the noting date for Auburn’s Amended Motion for Summary

18   Judgment, Dkt. 326. The parties experienced difficulties in arranging for completion of

19   Auburn’s deposition within the discovery period because Auburn experienced delays in

20   producing its documents due to the pandemic. Most recently, Auburn’s national counsel in

21   charge of preparing Auburn for the deposition became ill and is in the hospital.

22          Accordingly, Plaintiffs and Auburn ask the Court to extend the relevant deadlines for

23   the limited purpose of completing the above tasks and propose the following Order.



       STIPULATION MOTION AND ORDER TO                               GARDNER TRABOLSI & ASSOCIATES PLLC
                                                                               A T T O R N E Y S
       EXTEND DEADLINES - 1                                                2200 SIXTH AVENUE, SUITE 600
                                                                           SEATTLE, WASHINGTON 98121
                                                                             TELEPHONE (206) 256-6309
                                                                             FACSIMILE (206) 256-6318
            Case 2:19-cv-00793-RSL Document 475 Filed 09/30/20 Page 2 of 2




 1          DATED this 25th day of September 2020.

 2                                       GARDNER TRABOLSI & ASSOCIATES PLLC

 3
                                         By      /s/ Ronald C. Gardner
                                         WA State Bar #9270
 4                                       Gardner Trabolsi & Associates PLLC
                                         2200 Sixth Avenue, Suite 600
 5                                       Seattle, WA 98121
                                         Phone: (206) 256-6309
 6                                       Fax: (206) 256-6318
                                         E-Mail: rgardner@gandtlawfirm.com
                                         Attorney for Defendant Auburn Technology, Inc.
 7
                                         FROST LAW FIRM
 8

 9                                       By     /s/ Andrew Seitz
                                         Scott Frost
10                                       Andrew Seitz
                                         Attorneys for Plaintiffs
11

12

13                                            ORDER

            Based on the foregoing Stipulation of the relevant parties, It is hereby ORDERED that
14
     the August 9, 2020 deadline for completing discovery and the October 2, 2020 deadline for
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     hearing dispositive motions are extended for the limited purposes of completing Auburn’s
16
     deposition by October 15 and setting October 30 as the hearing date for Auburn’s Amended
17
     Summary Judgment Motion, Dkt 326.
18
            DATED this 30th day of September 2020.
19

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21                                       Robert S. Lasnik
                                         United States District Judge
22

23



       STIPULATION MOTION AND ORDER TO                              GARDNER TRABOLSI & ASSOCIATES PLLC
                                                                              A T T O R N E Y S
       EXTEND DEADLINES - 2                                               2200 SIXTH AVENUE, SUITE 600
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